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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 USAMA JAMIL HAMAMA, et al.,

       Petitioners/Plaintiffs,                Case No. 2:17-cv-11910-MAG-DRG

 v.                                              Hon. Mark A. Goldsmith
                                                 Mag. David R. Grand
 REBECCA ADDUCCI, et al.,
                                                 Class Action
       Respondents/Defendants.


             PETITIONERS/PLAINTIFFS’ RESPONSE TO
       RESPONDENTS/DEFENDANTS’ SUPPLEMENTAL FILING ON
         PRELIMINARY INJUNCTION ON DETENTION ISSUES

       Respondents’ latest carefully worded declaration unsuccessfully attempts to

 rebut Petitioners’ showing that removal is not significantly likely in the reasonably

 foreseeable future. Like its predecessor, this declaration fails to state that Iraq will

 accept the hundreds of Iraqi nationals ICE seeks to remove, or even that there is

 anything approaching an existing agreement with Iraq to accept such persons. It

 only asserts that “ICE believes that the central government of Iraq in Bagdad will

 permit the entry of detained Iraqi nationals subject to final orders of removal if the

 injunction is lifted.” Bernacke Decl., ECF 184-2, Pg.ID# 5073 at ¶ 12 (emphasis

 added).

       ICE’s disembodied belief rests on the hope that Iraq will, if the injunction is

 lifted, approve charter flight manifests for some as-yet-unknown number of as-yet-

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 unnamed Iraqis. Id., Pg.ID# 5071 at ¶ 6. And that hope is highly contingent: there

 is no written agreement, but only an amorphous arrangement that is subject to

 “ongoing diplomatic negotiations” which are apparently so fragile that even a

 simple request for travel documents “has the potential to jeopardize the present

 agreement.” Id., Pg.ID# 5070-72 at ¶¶ 4, 10 (emphasis added). The declarant does

 not claim Iraq has agreed to accept all 1,400 Iraqis who had final orders, but only

 that the fluid unwritten agreement does not “contemplate any numeric limitation.”

 Id., Pg.ID# 5071 at ¶ 5. While he asserts that Iraq will not require travel docu-

 ments, Iraq will need to approve flight manifests. Id. at ¶ 6. The declarant fails,

 however, to provide a list of detainees whom Iraq has approved for inclusion on

 such manifests, or even to explain how Iraq will determine which detainees can be

 repatriated in that way.

       Petitioners’ removal is not reasonably foreseeable for two reasons: 1)

 Petitioners’ immigration cases will take months or years to conclude; and 2) the

 government has not shown that, despite Petitioners’ earlier non-repatriatability,

 they could be removed if the injunction were lifted (assuming they still have final

 orders at that time). The government concedes the first point, which alone

 establishes a Zadvydas claim. On the second, the government now admits that it

 will not even begin working with Iraq to determine which detainees Iraq will

 accept unless the injunction is lifted. If that occurs at all, it is unlikely to occur



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 before spring, at which point the detainees will have been detained almost a year.

 Respondents’ plan to detain the class indefinitely while they work out whether they

 can repatriate is impermissible under Zadvydas.



 Respectfully submitted,


 Date: December 23, 2017



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                           CERTIFICATE OF SERVICE

 I hereby certify that on December 23, 2017, I electronically filed the foregoing

 papers with the Clerk of the Court using the ECF system which will send

 notification of such filing to all ECF filers of record.

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